                Case 2:23-bk-14605-BB                  Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                      Desc
                                                       Main Document    Page 1 of 47

Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Orro, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  715-B N. Douglas Street
                                  El Segundo, CA 90245
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://drinkorro.com


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 2:23-bk-14605-BB                      Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                   Desc
                                                            Main Document    Page 2 of 47
Debtor    Orro, LLC                                                                                Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                5149

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check
                                        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                            The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                 Case 2:23-bk-14605-BB                          Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                     Desc
                                                                Main Document    Page 3 of 47
Debtor    Orro, LLC                                                                                     Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
    real property or personal           Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?           (Various - Third-Party Warehouses)
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?

                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                           5001-10,000                               50,001-100,000
                                        50-99
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
                Case 2:23-bk-14605-BB         Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                               Desc
                                              Main Document    Page 4 of 47
Debtor   Orro, LLC                                                                 Case number (if known)
         Name

                           $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                           $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                           $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                        Main Document    Page 5 of 47
Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                        Main Document    Page 6 of 47
Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                        Main Document    Page 7 of 47
               Case 2:23-bk-14605-BB                                         Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                                                   Desc
                                                                             Main Document    Page 8 of 47
 Fill in this information to identify the case:

 Debtor name            Orro, LLC

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           558,363.02

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           558,363.02


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           840,119.82


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             840,119.82




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
            Case 2:23-bk-14605-BB                    Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                          Desc
                                                     Main Document    Page 9 of 47
Fill in this information to identify the case:

Debtor name         Orro, LLC

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Bank of America                                   Checking                              3977                                             $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable


          11b. Over 90 days old:                       61,969.78      -                          61,969.78 =....                                            $0.00
                                       face amount                          doubtful or uncollectible accounts


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                                       page 1
           Case 2:23-bk-14605-BB                    Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                          Desc
                                                    Main Document    Page 10 of 47
Debtor       Orro, LLC                                                                  Case number (If known)
             Name



12.       Total of Part 3.                                                                                                          $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last           Net book value of      Valuation method used   Current value of
                                             physical inventory         debtor's interest      for current value       debtor's interest
                                                                        (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          Plant Based Protein
          Ready to Drink Shakes                                                       $0.00                                     $558,363.02



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                  $558,363.02
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                              Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                   page 2
           Case 2:23-bk-14605-BB                    Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                  Desc
                                                    Main Document    Page 11 of 47
Debtor       Orro, LLC                                                                     Case number (If known)
             Name

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:     Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                       page 3
              Case 2:23-bk-14605-BB                               Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                                Desc
                                                                  Main Document    Page 12 of 47
Debtor          Orro, LLC                                                                                           Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $558,363.02

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $558,363.02           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $558,363.02




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 4
            Case 2:23-bk-14605-BB                    Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                    Desc
                                                     Main Document    Page 13 of 47
Fill in this information to identify the case:

Debtor name       Orro, LLC

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
             Case 2:23-bk-14605-BB                       Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                                Desc
                                                         Main Document    Page 14 of 47
Fill in this information to identify the case:

Debtor name        Orro, LLC

United States Bankruptcy Court for the:         CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Employment Development                              Check all that apply.
          Department                                             Contingent
          Bankruptcy Group MIC 92E                               Unliquidated
          P.O. Box 826880                                        Disputed
          Sacramento, CA 94280-0001
          Date or dates debt was incurred                     Basis for the claim:
                                                              FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                                    $0.00      $0.00
          Franchise Tax Board                                 Check all that apply.
          P.O. Box 2952                                          Contingent
          Sacramento, CA 95812-2952                              Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 10
                                                                                                              54252
             Case 2:23-bk-14605-BB                        Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                                   Desc
                                                          Main Document    Page 15 of 47
Debtor       Orro, LLC                                                                                  Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00     $0.00
          Internal Revenue Service                             Check all that apply.
          P.O. Box 7346                                           Contingent
          Philadelphia, PA 19101-7346                             Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00     $0.00
          Los Angeles County Tax Collector                     Check all that apply.
          PO Box 54110                                            Contingent
          Los Angeles, CA 90054-0110                              Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $2,115.00
          1WorldSync, Inc.                                                       Contingent
          300 South Riverside Plaza                                              Unliquidated
          Suite 1400                                                             Disputed
          Chicago, IL 60606
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          7Sixty Ventures LLC                                                    Contingent
          2600 W. Executive Pkwy                                                 Unliquidated
          Suite 180                                                              Disputed
          Lehi, UT 84043
                                                                             Basis for the claim:     Shareholder
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $3,786.69
          Alta Marketing Co.                                                     Contingent
          26717 Palmetto Avenue                                                  Unliquidated
          Redlands, CA 92374                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 10
            Case 2:23-bk-14605-BB                   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                       Desc
                                                    Main Document    Page 16 of 47
Debtor      Orro, LLC                                                                       Case number (if known)
            Name

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $2,874.00
         Amin Talati Wasserman, LLP                                   Contingent
         P.O. Box 641007                                              Unliquidated
         Chicago, IL 60664                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $41,438.00
         Argo Logistics Group                                         Contingent
         PO Box 867                                                   Unliquidated
         Capitola, CA 95010                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Argo Logistics Group                                         Contingent
         c/o Rodolfo Gaba, Jr.                                        Unliquidated
         25 Mauchly Suite 300                                         Disputed
         Irvine, CA 92618
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $26,796.72
         Autumn Communications LLC                                    Contingent
         8322 Beverly Blvd.                                           Unliquidated
         Suite 201                                                    Disputed
         Los Angeles, CA 90048
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Bennett Industries                                           Contingent
         2600 W. Executive Pkwy                                       Unliquidated
         Suite 180                                                    Disputed
         Lehi, UT 84043
                                                                   Basis for the claim:    Shareholder
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $73,817.86
         Cascades Containerboard Packaging
         IMGN Retail & Branded Division                               Contingent
         5910 Finch Avenue East                                       Unliquidated
         Toronto, ON M1B 5P8                                          Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Chris Bennett                                                Contingent
         2600 W. Executive Pkwy                                       Unliquidated
         Suite 180                                                    Disputed
         Lehi, UT 84043
                                                                   Basis for the claim:    Shareholder
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 3 of 10
            Case 2:23-bk-14605-BB                   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                       Desc
                                                    Main Document    Page 17 of 47
Debtor      Orro, LLC                                                                       Case number (if known)
            Name

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $58,841.14
         Ciranda Inc.                                                 Contingent
         708 2nd Street                                               Unliquidated
         Hudson, WI 54016                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $46,208.00
         Complemar Partners Inc                                       Contingent
         500 Lee Road, Suite 200                                      Unliquidated
         Rochester, NY 14606                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $18,441.30
         Connect Logistics                                            Contingent
         P.O. Box 682348                                              Unliquidated
         Franklin, TN 37068-2348                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Dan Daily LLC                                                Contingent
         1415 NE 7th Street                                           Unliquidated
         Fort Lauderdale, FL 33304                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Dan Morris (SBH)                                             Contingent
         1415 NE 7th Street                                           Unliquidated
         Fort Lauderdale, FL 33304                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Danny East                                                   Contingent
         588 W 2125 N                                                 Unliquidated
         West Bountiful, UT 84087                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         David Orr                                                    Contingent
         150 The Promenade N #519                                     Unliquidated
         Long Beach, CA 90802                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 4 of 10
            Case 2:23-bk-14605-BB                   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                       Desc
                                                    Main Document    Page 18 of 47
Debtor      Orro, LLC                                                                       Case number (if known)
            Name

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         David Vartanian                                              Contingent
         522 Rancho Drive                                             Unliquidated
         Ventura, CA 93003                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Do you believe Ent., Inc.                                    Contingent
         20448 Eccles St                                              Unliquidated
         Winnetka, CA 91306                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $25,000.00
         Do You Believe Enterprises, Inc.                             Contingent
         c/o Creative Artists Agency                                  Unliquidated
         2000 Avenue of the Stars                                     Disputed
         Los Angeles, CA 90067
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $855.00
         EGPS                                                         Contingent
         23332 Mill Creek Drive                                       Unliquidated
         Suite 205                                                    Disputed
         Laguna Hills, CA 92653
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Eric Reiter Living Trust                                     Contingent
         403 22nd St                                                  Unliquidated
         Santa Monica, CA 90402                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $87,222.56
         Flow Water Inc.                                              Contingent
         200-283 Dalhousie Street Ottawa                              Unliquidated
         Ontario K1N 7E1                                              Disputed
         CANADA
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $9,750.00
         Foundry Brand Services Group                                 Contingent
         111 W. Ocean Blvd                                            Unliquidated
         Suite 400                                                    Disputed
         Long Beach, CA 90802
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 5 of 10
            Case 2:23-bk-14605-BB                   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                       Desc
                                                    Main Document    Page 19 of 47
Debtor      Orro, LLC                                                                       Case number (if known)
            Name

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Fred Pinzuk                                                  Contingent
         212 Camino Real                                              Unliquidated
         Redondo Beach, CA 90277                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $9,642.50
         Giannuzzi Group LLP                                          Contingent
         411 West 14th Street                                         Unliquidated
         New York, NY 10014                                           Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $79,410.15
         Glanbia Nutritionals Inc                                     Contingent
         227 W Monroe St                                              Unliquidated
         Suite 5100                                                   Disputed
         Chicago, IL 60606
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Globestepper Productions Inc.                                Contingent
         715-B N Douglas St                                           Unliquidated
         El Segundo, CA 90245                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $976.74
         Gluten Intolerance Group                                     Contingent
         31214 - 124 Ave SE                                           Unliquidated
         Auburn, WA 98092                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $5,183.00
         Green Hasson Janks                                           Contingent
         Dept 710059                                                  Unliquidated
         PO Box 514670                                                Disputed
         Los Angeles, CA 90051-4670
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $0.00
         Houff - Flow Ing.Checkin                                     Contingent
         64 Triangle Drive                                            Unliquidated
         Weyers Cave, VA 24486                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 6 of 10
            Case 2:23-bk-14605-BB                   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                       Desc
                                                    Main Document    Page 20 of 47
Debtor      Orro, LLC                                                                       Case number (if known)
            Name

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $17,025.98
         Ingredion Incorporated                                       Contingent
         P.O. Box 742206                                              Unliquidated
         Los Angeles, CA 90074                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $17,649.54
         Javo Beverage Company, Inc                                   Contingent
         1311 Specialty Drive                                         Unliquidated
         Vista, CA 92081                                              Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Jeff Hansberry                                               Contingent
         3230 West Lake Sammamish Pkwy NE                             Unliquidated
         Redmond, WA 98052                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $234,596.54
         L.A. Libations LLC                                           Contingent
         715-B N Douglas St                                           Unliquidated
         El Segundo, CA 90245                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         L.A. Libations LLC                                           Contingent
         715-B N Douglas St                                           Unliquidated
         El Segundo, CA 90245                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         LivWell Ventures LP                                          Contingent
         c/o Orro SPV, LP                                             Unliquidated
         500 San Marcos St., #200                                     Disputed
         Austin, TX 78702
                                                                   Basis for the claim:    Shareholder
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         LMK Family LLC                                               Contingent
         20 William Street                                            Unliquidated
         Suite 140                                                    Disputed
         Wellesley, MA 02481
                                                                   Basis for the claim:    Shareholder
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                        Page 7 of 10
            Case 2:23-bk-14605-BB                   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                       Desc
                                                    Main Document    Page 21 of 47
Debtor      Orro, LLC                                                                       Case number (if known)
            Name

3.39     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Mehdi Brahim                                                 Contingent
         3626 Pinnate Dr                                              Unliquidated
         Las Vegas, NV 89147                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.40     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $5,833.34
         Michael Page International Inc.                              Contingent
         Attn 392604                                                  Unliquidated
         500 Ross Street 154-0460                                     Disputed
         Pittsburgh, PA 15251
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.41     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $23,500.00
         Mint Performance Marketing, Inc                              Contingent
         1019 East 4th Place WeWork                                   Unliquidated
         The Maxwell                                                  Disputed
         Los Angeles, CA 90013
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.42     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Moore Family Trust                                           Contingent
         429 8th St                                                   Unliquidated
         Manhattan Beach, CA 30266                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.43     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Patrick Posey                                                Contingent
         1789 Honors Lane                                             Unliquidated
         Corona, CA 92883                                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.44     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Powered by Fulfillment, Inc.                                 Contingent
         20880 Krameria Ave.                                          Unliquidated
         March Air Reserve Base, CA 92518                             Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.45     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Quantum Angels (Bessimer)                                    Contingent
         1865 Palmer Avenue                                           Unliquidated
         Suite 104                                                    Disputed
         Larchmont, NY 10538
                                                                   Basis for the claim:    Shareholder
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 8 of 10
            Case 2:23-bk-14605-BB                   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                       Desc
                                                    Main Document    Page 22 of 47
Debtor      Orro, LLC                                                                       Case number (if known)
            Name

3.46     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Rakuten - Atlanta                                            Contingent
         1500 Distribution Ct.                                        Unliquidated
         Suite 400                                                    Disputed
         Lithia Springs, GA 30122
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.47     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Rakuten - Denver                                             Contingent
         5775 N. Broadway                                             Unliquidated
         Suite 200                                                    Disputed
         Denver, CO 80216
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.48     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Shane Jager                                                  Contingent
         3 Sankaty Circle                                             Unliquidated
         Henderson, NV 89052                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.49     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         SMN Consulting Inc.                                          Contingent
         29408 Malibu View Ct                                         Unliquidated
         Agoura Hills, CA 91301                                       Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.50     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Starview Consulting Group, LLC                               Contingent
         31398 Juliana Farms Road                                     Unliquidated
         San Juan Capistrano, CA 92675                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.51     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $0.00
         Stellar Libations LLC                                        Contingent
         1201 Howard Ave, Suite 300                                   Unliquidated
         Burlingame, CA 94030                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Shareholder
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.52     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $16,172.69
         SupplyOne Weyers Cave                                        Contingent
         90 Packaging Drive                                           Unliquidated
         Weyers Cave, VA 24486                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 9 of 10
             Case 2:23-bk-14605-BB                       Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                                Desc
                                                         Main Document    Page 23 of 47
Debtor       Orro, LLC                                                                              Case number (if known)
             Name

3.53      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $31,933.07
          Tetra Pak Canada Inc.                                               Contingent
          20 De Boers Drive, Suite 420                                        Unliquidated
          Toronto, ON M3J 0H1                                                 Disputed
          CANADA
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes


3.54      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Tom Burkemper                                                       Contingent
          1969 Highway 100                                                    Unliquidated
          Hermann, MO 65041                                                   Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Shareholder
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes

3.55      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,050.00
          Ursa Technologes Inc.                                               Contingent
          2615 West 164th Street                                              Unliquidated
          Julio Arreygue                                                      Disputed
          Torrance, CA 90504
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes


3.56      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          William Barnum Living Trust                                         Contingent
          11150 Santa Monica Blvd                                             Unliquidated
          Suite 1200                                                          Disputed
          Los Angeles, CA 90025
                                                                           Basis for the claim:    Shareholder
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes


3.57      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Zx Ventures (Anheuser-Busch)                                        Contingent
          125 W.24th St                                                       Unliquidated
          New York, NY 10011                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Shareholder
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                             0.00
5b. Total claims from Part 2                                                                           5b.   +    $                       840,119.82

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                          840,119.82




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 10 of 10
           Case 2:23-bk-14605-BB                     Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                         Desc
                                                     Main Document    Page 24 of 47
Fill in this information to identify the case:

Debtor name       Orro, LLC

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Service Agreement
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    LA Libations
           List the contract number of any                                          715-B N. Douglas Street
                 government contract                                                El Segundo, CA 90245


2.2.       State what the contract or            Service Agreement
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    Rakuten Super Logistics
           List the contract number of any                                          500 Amigo Court #100
                 government contract                                                Las Vegas, NV 89119




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
          Case 2:23-bk-14605-BB                   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                      Desc
                                                  Main Document    Page 25 of 47
Fill in this information to identify the case:

Debtor name      Orro, LLC

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
            Case 2:23-bk-14605-BB                   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                       Desc
                                                    Main Document    Page 26 of 47



Fill in this information to identify the case:

Debtor name         Orro, LLC

United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                 $96,141.85
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $964,306.71
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $453,442.63
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
             Case 2:23-bk-14605-BB                   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                            Desc
                                                     Main Document    Page 27 of 47
Debtor       Orro, LLC                                                                          Case number (if known)



      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.1.
             FlexFlo Industries, Inc.                              6/1/2023                           $3,000.00             Secured debt
             Attn: Marlin B. Smith                                                                                          Unsecured loan repayments        Suppliers or
             254 Chapman Rd. Suite 208-9893                                                                              vendors
             Newark, DE 19702                                                                                               Services
                                                                                                                         X Other Transfer of Intellectual Property
                                                                                                                                  (Trademarks) in full satisfaction of
                                                                                                                                  secured claim

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                 Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   Argo Logistics Group, LLC                 Collections                 Los Angeles Superior Court                    Pending
             v.                                                                    825 Maple Ave                                 On appeal
             Orro LLC                                                              Torrance, CA 90503
                                                                                                                                 Concluded
             23TRCV01444

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
              Case 2:23-bk-14605-BB                  Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                        Desc
                                                     Main Document    Page 28 of 47
Debtor        Orro, LLC                                                                           Case number (if known)



9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                  Dates given                           Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

               Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
               the transfer?                                                                                                                         value
               Address
      11.1.    Raines Feldman Littrell LLP
               1900 Avenue of the Stars
               19th Floor
               Los Angeles, CA 90067                                                                                   7/21/2023                 $20,000.00

               Email or website address


               Who made the payment, if not debtor?
               LA Libations



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

              Who received transfer?                   Description of property transferred or                     Date transfer             Total amount or
              Address                                  payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
             Case 2:23-bk-14605-BB                    Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                          Desc
                                                      Main Document    Page 29 of 47
Debtor      Orro, LLC                                                                            Case number (if known)




14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 4
            Case 2:23-bk-14605-BB                    Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                        Desc
                                                     Main Document    Page 30 of 47
Debtor      Orro, LLC                                                                           Case number (if known)




         None

      Facility name and address                             Names of anyone with                  Description of the contents               Does debtor
                                                            access to it                                                                    still have it?
      Houff - Flow Ing.Checkin                              Third-Party Warehouse                 Plant Based Protein Ready to                  No
      64 Triangle Drive                                                                           Drink Shakes                                  Yes
      Weyers Cave, VA 24486

      Powered by Fulfillment, Inc.                          Third-Party Warehouse                 Plant Based Protein Ready to                  No
      20880 Krameria Ave.                                                                         Drink Shakes                                  Yes
      March Air Reserve Base, CA 92518

      Rakuten - Atlanta                                     Third-Party Warehouse                 Plant Based Protein Ready to                  No
      1500 Distribution Ct                                                                        Drink Shakes                                  Yes
      Suite 400
      Carrollton, GA 30112

      Rakuten - Denver                                      Third-Party Warehouse                 Plant Based Protein Ready to                  No
      5775 N Broadway                                                                             Drink Shakes                                  Yes
      Suite 200
      Denver, CO 80216



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                        Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known           Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 5
            Case 2:23-bk-14605-BB                    Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                            Desc
                                                     Main Document    Page 31 of 47
Debtor      Orro, LLC                                                                           Case number (if known)




           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Green Hasson Janks                                                                                                 5/2019 to 9/2022
                    700 S. Flower Street
                    Suite 3300
                    Los Angeles, CA 90017

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                        Main Document    Page 32 of 47
              Case 2:23-bk-14605-BB                     Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                     Desc
                                                        Main Document    Page 33 of 47
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Central District of California
 In re       Orro, LLC                                                                                        Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  20000.00
             Prior to the filing of this statement I have received                                        $                 20,000.00
             Balance Due                                                                                  $                       0.00

2.    The source of the compensation paid to me was:
                  Debtor             Other (specify):      LA Libations

3.    The source of compensation to be paid to me is:
                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]


6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     July 20, 2023
     Date                                                                     Hamid R. Rafatjoo
                                                                              Signature of Attorney
                                                                              Raines Feldman Littrell LLP
                                                                              1900 Avenue of the Stars
                                                                              19th Floor
                                                                              Los Angeles, CA 90067
                                                                              310 440-4100
                                                                              hrafatjoo@raineslaw.com
                                                                              Name of law firm
Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                        Main Document    Page 34 of 47
    Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                            Main Document    Page 35 of 47


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                       Orro, LLC
                       715-B N. Douglas Street
                       El Segundo, CA 90245


                       Hamid R. Rafatjoo
                       Raines Feldman Littrell LLP
                       1900 Avenue of the Stars
                       19th Floor
                       Los Angeles, CA 90067


                       Office of the United States Trustee
                       915 Wilshire Blvd., Suite 1850
                       Los Angeles, CA 90017


                       1WorldSync, Inc.
                       300 South Riverside Plaza
                       Suite 1400
                       Chicago, IL 60606


                       7Sixty Ventures LLC
                       2600 W. Executive Pkwy
                       Suite 180
                       Lehi, UT 84043


                       Alta Marketing Co.
                       26717 Palmetto Avenue
                       Redlands, CA 92374


                       Amin Talati Wasserman, LLP
                       P.O. Box 641007
                       Chicago, IL 60664


                       Argo Logistics Group
                       PO Box 867
                       Capitola, CA 95010
Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                        Main Document    Page 36 of 47



                   Argo Logistics Group
                   c/o Rodolfo Gaba, Jr.
                   25 Mauchly Suite 300
                   Irvine, CA 92618


                   Autumn Communications LLC
                   8322 Beverly Blvd.
                   Suite 201
                   Los Angeles, CA 90048


                   Bennett Industries
                   2600 W. Executive Pkwy
                   Suite 180
                   Lehi, UT 84043


                   Cascades Containerboard Packaging
                   IMGN Retail & Branded Division
                   5910 Finch Avenue East
                   Toronto, ON M1B 5P8
                   CANADA


                   Chris Bennett
                   2600 W. Executive Pkwy
                   Suite 180
                   Lehi, UT 84043


                   Ciranda Inc.
                   708 2nd Street
                   Hudson, WI 54016


                   Complemar Partners Inc
                   500 Lee Road, Suite 200
                   Rochester, NY 14606


                   Connect Logistics
                   P.O. Box 682348
                   Franklin, TN 37068-2348
Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                        Main Document    Page 37 of 47



                   Dan Daily LLC
                   1415 NE 7th Street
                   Fort Lauderdale, FL 33304


                   Dan Morris (SBH)
                   1415 NE 7th Street
                   Fort Lauderdale, FL 33304


                   Danny East
                   588 W 2125 N
                   West Bountiful, UT 84087


                   David Orr
                   150 The Promenade N #519
                   Long Beach, CA 90802


                   David Vartanian
                   522 Rancho Drive
                   Ventura, CA 93003


                   Do you believe Ent., Inc.
                   20448 Eccles St
                   Winnetka, CA 91306


                   Do You Believe Enterprises, Inc.
                   c/o Creative Artists Agency
                   2000 Avenue of the Stars
                   Los Angeles, CA 90067


                   EGPS
                   23332 Mill Creek Drive
                   Suite 205
                   Laguna Hills, CA 92653
Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                        Main Document    Page 38 of 47



                   Employment Development Department
                   Bankruptcy Group MIC 92E
                   P.O. Box 826880
                   Sacramento, CA 94280-0001


                   Eric Reiter Living Trust
                   403 22nd St
                   Santa Monica, CA 90402


                   Flow Water Inc.
                   200-283 Dalhousie Street Ottawa
                   Ontario K1N 7E1
                   CANADA


                   Foundry Brand Services Group
                   111 W. Ocean Blvd
                   Suite 400
                   Long Beach, CA 90802


                   Franchise Tax Board
                   P.O. Box 2952
                   Sacramento, CA 95812-2952


                   Fred Pinzuk
                   212 Camino Real
                   Redondo Beach, CA 90277


                   Giannuzzi Group LLP
                   411 West 14th Street
                   New York, NY 10014


                   Glanbia Nutritionals Inc
                   227 W Monroe St
                   Suite 5100
                   Chicago, IL 60606
Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                        Main Document    Page 39 of 47



                   Globestepper Productions Inc.
                   715-B N Douglas St
                   El Segundo, CA 90245


                   Gluten Intolerance Group
                   31214 - 124 Ave SE
                   Auburn, WA 98092


                   Green Hasson Janks
                   Dept 710059
                   PO Box 514670
                   Los Angeles, CA 90051-4670


                   Houff - Flow Ing.Checkin
                   64 Triangle Drive
                   Weyers Cave, VA 24486


                   Ingredion Incorporated
                   P.O. Box 742206
                   Los Angeles, CA 90074


                   Internal Revenue Service
                   P.O. Box 7346
                   Philadelphia, PA 19101-7346


                   Javo Beverage Company, Inc
                   1311 Specialty Drive
                   Vista, CA 92081


                   Jeff Hansberry
                   3230 West Lake Sammamish Pkwy NE
                   Redmond, WA 98052
Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                        Main Document    Page 40 of 47



                   L.A. Libations LLC
                   715-B N Douglas St
                   El Segundo, CA 90245


                   LA Libations
                   715-B N. Douglas Street
                   El Segundo, CA 90245


                   LivWell Ventures LP
                   c/o Orro SPV, LP
                   500 San Marcos St., #200
                   Austin, TX 78702


                   LMK Family LLC
                   20 William Street
                   Suite 140
                   Wellesley, MA 02481


                   Los Angeles County Tax Collector
                   PO Box 54110
                   Los Angeles, CA 90054-0110


                   Mehdi Brahim
                   3626 Pinnate Dr
                   Las Vegas, NV 89147


                   Michael Page International Inc.
                   Attn 392604
                   500 Ross Street 154-0460
                   Pittsburgh, PA 15251


                   Mint Performance Marketing, Inc
                   1019 East 4th Place WeWork
                   The Maxwell
                   Los Angeles, CA 90013
Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                        Main Document    Page 41 of 47



                   Moore Family Trust
                   429 8th St
                   Manhattan Beach, CA 30266


                   Patrick Posey
                   1789 Honors Lane
                   Corona, CA 92883


                   Powered by Fulfillment, Inc.
                   20880 Krameria Ave.
                   March Air Reserve Base, CA 92518


                   Quantum Angels (Bessimer)
                   1865 Palmer Avenue
                   Suite 104
                   Larchmont, NY 10538


                   Rakuten - Atlanta
                   1500 Distribution Ct.
                   Suite 400
                   Lithia Springs, GA 30122


                   Rakuten - Denver
                   5775 N. Broadway
                   Suite 200
                   Denver, CO 80216


                   Rakuten Super Logistics
                   500 Amigo Court #100
                   Las Vegas, NV 89119


                   Shane Jager
                   3 Sankaty Circle
                   Henderson, NV 89052
Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                        Main Document    Page 42 of 47



                   SMN Consulting Inc.
                   29408 Malibu View Ct
                   Agoura Hills, CA 91301


                   Starview Consulting Group, LLC
                   31398 Juliana Farms Road
                   San Juan Capistrano, CA 92675


                   Stellar Libations LLC
                   1201 Howard Ave, Suite 300
                   Burlingame, CA 94030


                   SupplyOne Weyers Cave
                   90 Packaging Drive
                   Weyers Cave, VA 24486


                   Tetra Pak Canada Inc.
                   20 De Boers Drive, Suite 420
                   Toronto, ON M3J 0H1
                   CANADA


                   Tom Burkemper
                   1969 Highway 100
                   Hermann, MO 65041


                   Ursa Technologes Inc.
                   2615 West 164th Street
                   Julio Arreygue
                   Torrance, CA 90504


                   William Barnum Living Trust
                   11150 Santa Monica Blvd
                   Suite 1200
                   Los Angeles, CA 90025
Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                        Main Document    Page 43 of 47



                   Zx Ventures (Anheuser-Busch)
                   125 W.24th St
                   New York, NY 10011
      Case 2:23-bk-14605-BB                       Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                                                    Desc
                                                  Main Document    Page 44 of 47


Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
Email Address
Hamid R. Rafatjoo
Raines Feldman Littrell LLP
1900 Avenue of the Stars
19th Floor
Los Angeles, CA 90067
310 440-4100
California State Bar Number: 181564 CA
hrafatjoo@raineslaw.com




     Attorney for:
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
          Orro, LLC                                                           ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 7

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Dino Sarti                                                              , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                        Main Document    Page 45 of 47
Case 2:23-bk-14605-BB   Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57   Desc
                        Main Document    Page 46 of 47
        Case 2:23-bk-14605-BB          Doc 1 Filed 07/22/23 Entered 07/22/23 13:40:57                 Desc
                                       Main Document    Page 47 of 47

                                         Resolution of Board of Directors
                                                        of
                                                      Orro, LLC




      Whereas, it is in the best interest of this corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 7 of Title 11 of the United States Code;

        Be It Therefore Resolved, that Dino Sarti, Authorized Representative of this Corporation, is authorized and
directed to execute and deliver all documents necessary to perfect the filing of a chapter 7 voluntary bankruptcy
case on behalf of the corporation; and

         Be It Further Resolved, that Dino Sarti, Authorized Representative of this Corporation is authorized and
directed to appear in all bankruptcy proceedings on behalf of the corporation, and to otherwise do and perform
all acts and deeds and to execute and deliver all necessary documents on behalf of the corporation in connection
with such bankruptcy case, and

        Be It Further Resolved, that Dino Sarti, Authorized Representative of this Corporation is authorized and
directed to employ Hamid R. Rafatjoo, attorney and the law firm of Raines Feldman Littrell LLP to represent the
corporation in such bankruptcy case.

Date July 20, 2023                                     Signed
                                                                  Shaun Neff, Director


Date July 20, 2023                                     Signed
                                                                  Danny Stepper, Director


Date July 20, 2023                                     Signed
                                                                  Dino Sarti, Director


Date July 20, 2023                                     Signed
                                                                  Scott Guthrie, Director
